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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

JAMES P. BEECHINOR, : CASE NO. 3:15-cv-01172 (SRU)
Plaintiff,
v.

ALFANO AUTO GROUP, LLC d/b/a
ALFANO NISSAN,

Defendant. : MARCH 1, 2016

ALFANO AUTO GROUP, LLC’S
NOTICE OF ACCEPTANCE OF PLAINTIFF’S OFFER OF JUDGMENT

The Defendant Alfano Auto Group, LLC d/b/ a Alfano Nissan, by and through its
attorneys, hereby gives notice, pursuant to Rule 68 of the Federal Rules of Civil
Procedure, that it accepts the Offer of Judgment Served on it by the Plaintiff on February
3, 2016.

Respectfully submitted by,

ALFANO AUTO GROUP, LLC d/b/a
ALFANO NISSAN

/S/ Robert E. Koosa
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CERTIFICATION

I hereby certify that on this date a copy of foregoing Alfano Auto Group, LLC’s
Notice of Acceptance of Plaintiff’s Offer of Judgment Was filed electronically and
served by mail on anyone unable to accept electronic filing Notice of this filing Will be
sent by e-mail to all parties by operation of the Court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF System.

/s/ Robert E. Koosa

 

